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                     Exhibit 15
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                                                                            Review

    1          IN THE UNITED STATES DISTRICT COURT
    2           FOR THE NORTHERN DISTRICT OF OHIO
    3                   EASTERN DIVISION
    4                        - - -
    5
            IN RE: NATIONAL                        :    HON. DAN A.
    6       PRESCRIPTION OPIATE                    :    POLSTER
            LITIGATION                             :
    7                                              :
            APPLIES TO ALL CASES                   :    NO.
    8                                              :    1:17-MD-2804
                                                   :
    9
                        - HIGHLY CONFIDENTIAL -
   10
          SUBJECT TO FURTHER CONFIDENTIALITY REVIEW
   11
                                        -     -    -
   12
                                  May 29, 2019
   13
                                        -     -    -
   14
   15                  Videotaped deposition of
          JONATHAN R. MACEY, taken pursuant to
   16     notice, was held at the offices of
          Kirkland Ellis, LLP, 601 Lexington
   17     Avenue, New York, New York, beginning at
          9:10 a.m., on the above date, before
   18     Michelle L. Gray, a Registered
          Professional Reporter, Certified
   19     Shorthand Reporter, Certified Realtime
          Reporter, and Notary Public.
   20
                                       -    -     -
   21
   22               GOLKOW LITIGATION SERVICES
                 877.370.3377 ph | 917.591.5672 fax
   23                     deps@golkow.com
   24

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   1 my report or the -- points, the analysis         1      request that any inaccuracies in
   2 in Paragraphs 12 through 16 of my report         2      the written report discovered
   3 provide -- are consistent with and               3      after today please be provided to
   4 provide further support for Opinion              4      us in advance of trial. Would you
   5 Number 7, particularly.                          5      agree to that, Counsel?
   6      Q. Are there any additional                 6          MS. LEVY: We will agree to
   7 bases of support for Opinion Number 7            7      that.
   8 that are not referenced in your report           8 BY MS. BAIG:
   9 under this section?                              9      Q. Do you have any outline of
  10      A. I mean I could be more                  10 this report or notes associated with this
  11 specific and expand on how these various        11 report?
  12 doctrines support Opinion Number 7, but         12      A. No.
  13 it would just be being a little bit more        13      Q. Do you have any additional
  14 specific, which I'm happy to do. It             14 plans on working on this case other than
  15 wouldn't be providing additional sources.       15 what you've already testified between now
  16      Q. Are there any additional                16 and trial?
  17 documents that are not cited in this            17      A. No.
  18 section that are supportive of your             18      Q. Is there anything additional
  19 Opinion Number 7 that you reviewed?             19 that you feel that you need to do in
  20      A. No.                                     20 order to give opinions about this case at
  21      Q. So you have no corrections              21 trial? Is there any additional work that
  22 as you sit here today to your expert            22 you feel you need to perform?
  23 report; is that right?                          23      A. At the moment, no. I would
  24      A. I have no substantive                   24 anticipate that should other expert

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   1 corrections. I believe when I read               1 reports be filed in the future related to
   2 through my report in connection with my          2 the subject matter of my testimony today,
   3 preparation for today's deposition, I            3 that I would review those, but I have no
   4 found a couple of typographical errors,          4 current awareness of any such reports or
   5 but I'm not sure that I could identify           5 immediate plans to review any such
   6 them right now, and I found no                   6 reports.
   7 typographical errors that would affect or        7      Q. And you have no plans to
   8 change my opinion -- oh, so for example,         8 review any additional documents prior to
   9 if one were to look on Page 18, Paragraph        9 trial?
  10 32 of my deposition, the very end --            10      A. Not -- no, sitting here
  11      Q. Of your report you mean?                11 right now, I have no such plans.
  12      A. Did I say deposition? I'm               12      Q. Is there any information
  13 sorry my report. I think there are two          13 that you do not currently have that would
  14 periods after the word "efficiency." So         14 either strengthen or weaken your
  15 I would delete that.                            15 opinions?
  16          But other than corrections             16          MS. LEVY: Objection to
  17 of that kind, I don't have any                  17      form. Calls for speculation.
  18 corrections to my report.                       18          THE WITNESS: Certainly, as
  19      Q. So the report and all                   19      I say specifically in my report, I
  20 exhibits are complete and accurate to the       20      would never -- I would not rule
  21 best of your knowledge as you sit here          21      out the possibility that something
  22 today; is that right?                           22      could happen that would change my
  23      A. Yes.                                    23      mind. I specifically would refer
  24          MS. BAIG: I would again                24      to Paragraph 6 on Page 4 of my
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   1      report where I reserve the right            1  what new information came out.
   2      to modify or supplement the                 2       Q. Anything else that you can
   3      opinions in light of new evidence.           3 think of right now?
   4           It's certainly -- I would               4      A. No.
   5      not rule out or consider it                  5      Q. Any additional categories of
   6      impossible or unimaginable that              6 documents that could change your opinion
   7      there could be additional evidence           7 that you haven't reviewed already?
   8      that would cause me to reconsider            8      A. No, not -- I don't believe
   9      my opinion. I'm not aware of any             9 so.
  10      such evidence or even of the                10      Q. And there's nothing more to
  11      possibility of the existence of             11 your knowledge that needs to be reviewed
  12      any such evidence.                          12 in order to support your opinions; is
  13           But it certainly, as a -- as           13 that right?
  14      a -- as a statistical matter, the           14      A. That's correct.
  15      probability is greater than zero            15      Q. How certain of you are
  16      that such evidence might exist              16 your -- how certain are you of your
  17      that could reinforce or undermine           17 opinions in this case?
  18      the opinions that I've expressed            18          MS. LEVY: Object to form.
  19      today.                                      19 BY MS. BAIG:
  20 BY MS. BAIG:                                     20      Q. Do you have a degree of
  21      Q. Are there any facts that you             21 certainty?
  22 can think of as you sit here right now           22      A. Mm-hmm. I would say I --
  23 that would -- that would influence or            23 with respect to the opinions expressed in
  24 change your opinions in any way?                 24 this report, I am extremely certain, I

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   1       A. Any particular facts? Or --             1  could say that in the -- I've never been
   2 I'm not quite sure. I'm not quite sure.          2  more certain about my opinion in any of
   3 I mean, I don't -- I don't -- if -- if --         3 the 80 cases in which I've testified as
   4 if it were revealed to me that Mr. --             4 an expert witness, so I would hold these
   5 that -- that -- that Mr. Hertz's                  5 opinions with an extremely high degree of
   6 declaration or Mr. Kaufhold's declaration         6 certainty.
   7 or the -- or the -- or the master                 7      Q. Have you met with any other
   8 purchase agreement or the public                  8 experts in this case?
   9 reporting of the companies that I cite in         9      A. I have not.
  10 Roman Numeral II, if there were -- if it         10      Q. And you have -- I think
  11 turned out that these were factually             11 you've said before that you have not met
  12 wrong and I was predicating some or              12 with any other lawyers for any of the
  13 portions of my opinion on incorrect              13 other defendants, correct?
  14 factual assumptions, that could have an          14      A. That is correct.
  15 effect on my opinion, I suppose. It's            15      Q. Are you aware of -- of who
  16 certainly within the realm of                    16 the experts are that have been retained
  17 possibility.                                     17 in this case?
  18           I have no reason to believe            18      A. I am not.
  19 that there are any -- that these                 19      Q. You're not aware of any of
  20 documents are fraudulent or there's              20 them, any of the names of any of the
  21 anything mistaken about it. But                  21 experts in this case?
  22 certainly if I were apprised of that             22      A. I am not.
  23 fact, it would change my -- it could             23      Q. So it's safe to assume that
  24 likely change my opinion, depending on           24 you have not reviewed any other expert


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   1 reports in this case?                          1 about. But it had something to with
   2      A. That is correct. I've not              2 Colombia, the country Colombia, an oil
   3 reviewed any other expert reports.             3 pipeline there and an investment in it.
   4          MS. BAIG: I'm close to the            4 And I was permitted to testify about
   5      end, so why don't we take a               5 corporate governance matters, but I was
   6      five-minute break.                        6 not permitted to testify about issues
   7          THE WITNESS: Okay. Good.              7 related to professional responsibility of
   8          THE VIDEOGRAPHER: Off the             8 lawyers, although my testimony has was
   9      record at 3:06 p.m.                       9 not being offered relative professional
  10          (Short break.)                       10 responsibility of lawyers. But the judge
  11          THE VIDEOGRAPHER: We are             11 said that I shouldn't -- that at trial
  12      back on the record at 3:18 p.m.          12 that I wouldn't be allowed to testify
  13 BY MS. BAIG:                                  13 about that.
  14      Q. Okay. Has your testimony              14      Q. Wait, wait. Who was the
  15 ever been excluded from trial?                15 judge?
  16      A. My testimony has never been           16      A. I don't recall.
  17 excluded in the sense that I've never         17      Q. State or federal court?
  18 been prohibited from testifying. I            18      A. I don't remember if it was
  19 believe there have been cases where my        19 state or -- I don't recall.
  20 testimony has been curtailed such that a      20      Q. Where was it venued?
  21 particular topic, like professional           21      A. The -- the law firm that
  22 responsibility, was kind of preemptively      22 retained me was in Texas. The economic
  23 excluded as a topic for my testimony.         23 activity that gave rise to the legal
  24          But to my knowledge, while           24 dispute was in Columbia. I don't know.

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   1 my testimony has been curtailed on             1 I don't know where -- what the
   2 occasion, I don't -- I do not -- I             2 jurisdiction of the court was.
   3 believe there's never been a case where        3      Q. And do you remember either
   4 my testimony has been completely               4 of the parties' names?
   5 excluded.                                      5      A. Yes. One party was named 7
   6      Q. You're familiar with                   6 Seas, S-E-A-S, and the Number 7,
   7 something called a Daubert motion?             7 S-E-V-E-N. I don't remember the other
   8      A. Yes, I am.                             8 parties.
   9      Q. And so you've never been               9      Q. And you were retained on
  10 Dauberted? You've never been excluded as      10 behalf of 7 Seas?
  11 a result of a Daubert motion?                 11      A. I don't recall.
  12      A. Well, not to mince words.             12      Q. Any other cases that you
  13 So I take it Dauberted means, the way I       13 recall in which your testimony was
  14 see it is, someone makes a motion to          14 curtailed?
  15 exclude the testimony. And I believe          15      A. There is a case on my list,
  16 that has been done in my case. I don't        16 there's -- of testimony, the Robinson
  17 believe a motion has ever been                17 case, and I believe that there were
  18 successful.                                   18 limitations placed on my testimony in
  19      Q. Okay. And what are the                19 that case, although I don't recall what
  20 cases that you recall where your              20 they were. I think the case settled. I
  21 testimony has been curtailed?                 21 don't really -- I don't remember what the
  22      A. So I think that there was a           22 limitations were. I was -- my testimony
  23 case a long time ago in Texas called          23 was not prohibited, but there were -- it
  24 Seven Seas. I don't remember what it was      24 was -- there were certain limitations


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